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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                                                 )
HOWARD COHAN                                     )
                                                 )
        Plaintiff,                               )
                                                 )
v.                                               )
                                                 )       Case No. 1:19-cv-2257
FH-HOTEL WARRENVILLE OPCO,
                                                 )
L.L.C., a Delaware limited liability
                                                 )
company,
                                                 )
        Defendant.                               )
                                                 )

     PLAINTIFF’S COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

        Plaintiff Howard Cohan, through his undersigned counsel, states the following in support

of his Complaint for Declaratory and Injunctive Relief to remedy discrimination by FH-Hotel

Warrenville OpCo, L.L.C. based on Plaintiff’s disability in violation of Title III of the Americans

with Disabilities Act of 1990, 42 U.S.C. §§ 12181 et seq. (“ADA”), and its implementing

regulation, 28 C.F.R. Part 36:

                                  JURISDICTION AND VENUE

        1.      This Court has jurisdiction over this action pursuant to 42 U.S.C. § 2000a-3(a), 28

U.S.C. § 1331, and 28 U.S.C. § 1343.

        2.      Venue is appropriate in this district under 28 U.S.C. § 1391 because the acts of

discrimination occurred in this district, and the property that is the subject of this action is in this

district.

                                              PARTIES

        3.      Plaintiff is a resident of Palm Beach County, Florida.




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        4.      Defendant is a limited liability company with its registered office located at 208 S

LaSalle St, Suite 814, Chicago, IL 60604.

        5.      Upon information and belief, Defendant owns or operates “Spring Hill Suites”

whose locations qualify as a “Facility” as defined in 28 C.F.R. § 36.104.

                                     FACTUAL ALLEGATIONS

        6.      Plaintiff incorporates the above paragraphs by reference.

        7.      Plaintiff is an individual with numerous disabilities, including severe spinal

stenosis of the lumbar spine with spondylolisthesis and right leg pain, severe spinal stenosis of

the cervical spine with nerve root compromise on the right side, a non-union fracture of the left

acromion, a labral tear of the left shoulder, a full thickness right rotor cuff tear, a right knee

medial meniscal tear, a repaired ACL and bilateral meniscal tear of the left knee and severe basal

joint arthritis of the left thumb.

        8.      At the time of Plaintiff’s initial visit to Spring Hill Suites (and prior to instituting

this action), Plaintiff suffered from a qualified disability under the 28 C.F.R. 36.105.

        9.      Plaintiff’s condition is degenerative and requires occasional use of mobility aids

to assist his movement.

        10.     Plaintiff regularly travels to Il to visit friends and shop and has plans to return to

Warrenville on June 6, 2019.

        11.     Plaintiff encountered barriers to access at the Facility which denied him full and

equal access and enjoyment of the services, goods and amenities.

        12.     Plaintiff is a customer of Defendant and would return to the Facility in June if

Defendant modifies the Facility and its policies and practices to accommodate individuals who




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have physical disabilities, but he is deterred from returning due to the barriers and discriminatory

effects of Defendant’s policies and procedures at the Facility.

        13.       Due to Plaintiff’s frequent travels, he also acts as a tester by inspecting Facilities

for accessibility to advance the purpose of the ADA, the civil rights of disabled individuals, and

to be certain that he can enjoy the same options and privileges to patronize places of public

accommodation as non-disabled individuals without worrying about accessibility issues.

        14.       Plaintiff returns to every Facility after being notified of remediation of the

discriminatory conditions to verify compliance with the ADA and regularly monitors the status

of remediation.

                              COUNT I
         REQUEST FOR DECLARATORY JUDGMENT UNDER 28 U.S.C. § 2201

        15.       Plaintiff incorporates the above paragraphs by reference.

        16.       This Court is empowered to issue a declaratory judgment regarding: (1)

Defendant’s violation of 42 U.S.C. § 12182; (2) Defendant’s duty to comply with the provisions

of 42 U.S.C. § 12181 et al; (3) Defendant’s duty to remove architectural barriers at the Facility;

and (4) Plaintiff’s right to be free from discrimination due to his disability. 28 U.S.C. § 2201.

        17.       Plaintiff seeks an order declaring that he was discriminated against on the basis of

his disability.

                                COUNT II
          REQUEST FOR INJUNCTIVE RELIEF UNDER 42 U.S.C. § 2000a–3(a)

        18.       Plaintiff incorporates the above paragraphs by reference.

        19.       Spring Hill Suites is a place of public accommodation covered by Title III of the

ADA because it is operated by a private entity, its operations affect commerce, and it is a hotel.

42 U.S.C. § 12181(7); see 28 C.F.R. § 36.104.




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       20.      Defendant is a public accommodation covered by Title III of the ADA because it

owns, leases (or leases to), or operates a place of public accommodation. See 42 U.S.C. §§

12181(7), 12182(a); 28 C.F.R. § 36.104.

       21.      Architectural barriers exist which denied Plaintiff full and equal access to the

goods and services Defendant offers to non-disabled individuals.

       22.      Plaintiff personally encountered architectural barriers on September 26, 2018, at

the Facility located at 4305 Weaver Pkwy, Warrenville, Il 60555:

             a. Lobby Restroom:

                    i. Providing a gate or door with a continuous opening pressure of greater

                       than 5 lbs. exceeding the limits for a person with a disability in violation

                       of 2010 ADAAG §§404, 404.1, 404.2, 404.2.9 and 309.4.

                   ii. Failing to provide the proper insulation or protection for plumbing or other

                       sharp or abrasive objects under a sink or countertop in violation of 2010

                       ADAAG §§606 and 606.5.

             b. Accessible Stall in Lobby Restroom:

                    i. Failing to provide operable parts that are functional or are in the proper

                       reach ranges as required for a person with a disability in violation of 2010

                       ADAAG §§309, 309.1, 309.2, 309.3, 309.4 and 308.

                   ii. Failing to provide the proper insulation or protection for plumbing or other

                       sharp or abrasive objects under a sink or countertop in violation of 2010

                       ADAAG §§606 and 606.5.




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                   iii. Failing to provide the proper spacing between a grab bar and an object

                       projecting out of the wall in violation of 2010 ADAAG §§609, 609.1 and

                       609.3.

                   iv. Providing grab bars of improper horizontal length or spacing as required

                       along the rear or side wall in violation of 2010 ADAAG §§604, 604.5,

                       604.5.1 and 604.5.2.

                   v. Failing to provide toilet paper dispensers in the proper position in front of

                       the water closet or at the correct height above the finished floor in

                       violation of 2010 ADAAG §§604, 604.7 and 309.4.

                   vi. Failing to provide a coat hook within the proper reach ranges for a person

                       with a disability in violation of 2010 ADAAG §§603, 603.4 and 308.

                  vii. Failing to provide flush controls located on the open side of the water

                       closet in violation of 2010 ADAAG §§309, 309.4, 604 and 604.6.

             c. Pathway from Parking to Hotel:

                    i. Providing pathways and surfaces that are uneven in violation of 2010

                       ADAAG §§206, 206.1, 206.2, 206.2.2, 303 and 403.4.

                   ii. Providing pathways and surfaces that are too steep that include changes in

                       levels greater than 0.5 inches in violation of 2010 ADAAG §§206, 206.1,

                       206.2, 206.2.2, 303, 303.4, 403.3 and/or §4.8.5 of the 1991 ADA

                       Standards 4.3.8.

       23.      These barriers cause Plaintiff difficulty in safely using each element of the

Facility, requiring extra care due to concerns for safety and a fear of aggravating his injuries.




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        24.    Defendant has failed to remove some or all of the barriers and violations at the

Facility.

        25.    Defendant’s failure to remove these architectural barriers denies Plaintiff full and

equal access to the Facility in violation of 42 U.S.C. § 12182(b)(2)(A)(iv).

        26.    Plaintiff believes that Defendant similar barriers are present

        27.    Defendant’s failure to modify its policies, practices, or procedures to train its staff

to identify architectural barriers and reasonably modify its services creates an environment where

individuals with disabilities are not provided goods and services in the most integrated setting

possible is discriminatory. 42 U.S.C. §§ 12182(a), 12182(b)(2)(A)(iv), and 28 C.F.R. § 36.302.

        28.    Defendant has discriminated and continues to discriminate against Plaintiff (and

others who are similarly situated) by denying access to full and equal enjoyment of goods,

services, facilities, privileges, advantages, or accommodations located at the Facility due to the

barriers and other violations listed in this Complaint.

        29.    It would be readily achievable for Defendant to remove all of the barriers at the

Facility.

        30.    Failing to remove barriers to access where it is readily achievable is

discrimination against individuals with disabilities. 42 U.S.C. §§ 12182(a), 12182(b)(2)(A)(iv),

and 28 C.F.R. § 36.304.

                                     RELIEF REQUESTED

WHEREFORE, Plaintiff respectfully requests that this Court:

        A.     declare that the Facility identified in this Complaint is in violation of the ADA;

        B.     declare that the Facility identified in this Complaint is in violation of the

ADAAG;




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       C.      enter an Order requiring Defendant make the Facility accessible to and usable by

individuals with disabilities to the full extent required by Title III of the ADA;

       D.      enter an Order directing Defendant to evaluate and neutralize its policies,

practices, and procedures towards persons with disabilities;

       E.      award Plaintiff attorney fees, costs (including, but not limited to court costs and

expert fees) and other expenses of this litigation pursuant to 42 U.S.C. § 12205; and

       F.      grant any other such relief as the Court deems just and proper.


                                                       Respectfully submitted,

                                                       BLACKMORE LAW PLC

                                                      /s/ Angela C. Spears
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Dated: April 3, 2019




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